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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
COMMONWEALTH OF MASSACHUSETTS,             :
                                           :
            Plaintiff,                     :   Case No. 1:17-cv-11930-NMG
                                           :
      v.                                   :
                                           :
UNITED STATES DEPARTMENT OF                :
HEALTH AND HUMAN SERVICES et al.,          :
                                           :
            Defendants.                    :
__________________________________________:


                    DEFENDANTS’ SUPPLEMENTAL BRIEF
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                                        INTRODUCTION

       Earlier this year in Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,

140 S. Ct. 2367 (2020), for the second time in six years, the Supreme Court sided with objectors

to what is commonly called the contraceptive-coverage mandate. The Court held that Congress’s

grant of “virtually unbridled discretion” in the Affordable Care Act (“ACA”) to determine what

counts as preventive care and screenings for purposes of the women’s preventive service mandate,

as well as possible exemptions to that mandate, authorized the federal agencies responsible for

administering the ACA 1 (“the Agencies”) to create religious and moral exemptions to any

contraceptive-coverage mandate they might impose. 140 S. Ct. at 2379-82. The Supreme Court

further counseled that, in crafting the religious exemption, the Agencies were right to consider

concerns that the mandate could violate the Religious Freedom Restoration Act (“RFRA”). Id. at

2382-84. Accordingly, the Court vacated decisions enjoining the Agencies’ 2018 rules (the “Final

Rules”) 2 providing exemptions accommodating sincere religious and moral objections to the

contraceptive-coverage mandate.

       Little Sisters further confirms that the Commonwealth of Massachusetts’ claims have no

merit, and must be dismissed or resolved in Defendants’ favor. As an initial matter, even if

Plaintiff’s operative complaint could be read to assert an “arbitrary and capricious” claim, Plaintiff

waived the claim by failing to raise it in its motion for summary judgment (or reply). Plaintiff




1
 The Department of Health and Human Services (“HHS”), the Department of Labor, and the
Department of the Treasury.
2
 See Religious Exemptions and Accommodations for Coverage of Certain Preventive Services
Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15, 2018) (the “Religious Exemption Rule”); Moral
Exemptions and Accommodations for Coverage of Certain Preventive Services Under the ACA,
83 Fed. Reg. 57,592 (Nov. 15, 2018) (the “Moral Exemption Rule”).
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cannot sneak the claim back into the case under the guise of supplemental briefing. In any event,

the claim is meritless—which perhaps explains Plaintiff’s failure to raise it in prior briefs. The

Agencies reasonably exercised their “virtually unbridled discretion” to craft religious and moral

exemptions in light of RFRA, Congress’s longstanding practice of protecting religious and moral

conscience in the health care space, and the years of litigation they had experienced over the scope

of the contraceptive coverage mandate (“mandate”).

        Plaintiff’s constitutional claims also fail. The Final Rules do not violate the Establishment

Clause or discriminate on the basis of sex. The Rules place religious and moral objections on

similar footing, and the Supreme Court has long recognized that accommodating religious exercise

does not violate the Establishment Clause. Moreover, because the Final Rules do not draw a sex-

based distinction, rational basis review governs Plaintiff’s equal protection claim, and the Rules

easily satisfy it. Defendants therefore respectfully request that the Court enter summary judgment

in their favor on all of Plaintiff’s claims. 3

                                             ARGUMENT

I.      The Supreme Court’s Decision in Little Sisters.

        Before the Final Rules were set to go into effect, they were preliminarily enjoined by

district courts in the Third and Ninth Circuits, which found the Final Rules substantively and

procedurally invalid. The respective courts of appeals affirmed these injunctions. See California

v. HHS, 941 F.3d 410 (9th Cir. 2019); Pennsylvania v. President of United States, 930 F.3d 543

(3d Cir. 2019). The Supreme Court granted petitions for a writ of certiorari to the Third Circuit

filed by the United States and the Little Sisters of the Poor, a religious non-profit that intervened



3
 Plaintiff concedes that Defendants are entitled to summary judgment on Counts I and II, to the
extent they allege that the Agencies exceeded their authority under the ACA in issuing the Final
Rules. See Pl. Supp. at 2-3, ECF No. 135.
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to defend the Rules. The Supreme Court then reversed the court of appeals and remanded the case

for further proceedings consistent with its opinion. Little Sisters, 140 S. Ct. at 2386.

       In its decision, the Court rejected claims (also asserted by Plaintiff in this case) that the

Agencies lacked statutory authority to promulgate the exemptions and violated the notice-and-

comment requirements of the Administrative Procedure Act (“APA”) by soliciting comments after

issuing the Interim Final Rules (“IFRs”). See id. at 2379-86. The Court also addressed three issues

that are relevant to the claims Massachusetts continues to press here.

       First, the Court recognized the Agencies’ care in responding to comments on the IFRs and

the strength of the Agencies’ analysis generally, noting that the Final Rules “responded to post-

promulgation comments,” and “explain[ed] their reasons for neither narrowing nor expanding the

exemptions beyond what was provided for in the IFRs.” Id. at 2378. The Court also observed that

the “final rule creating the religious exemption [] contained a lengthy analysis of the [Agencies’]

changed position regarding whether the self-certification process violated RFRA” and that the

Agencies explained that “in the wake of the numerous lawsuits challenging the self-certification

accommodation and the failed attempt to identify alternative accommodations after the 2016

request for information, ‘an expanded exemption rather than the existing accommodation is the

most appropriate administrative response to the substantial burden identified’” in Burwell v. Hobby

Lobby Stores, Inc., 573 U.S. 682, 719 (2014). Little Sisters, 140 S. Ct. at 2378 (quoting 83 Fed.

Reg. at 57,544-45).

       Second, the Court held that, “[u]nder a plain reading of [42 U.S.C. § 300gg-13(a)(4)] . . .

the ACA gives [the Health Resources & Services Administration (“HRSA”)] broad discretion to

define preventive care and screenings and to create the religious and moral exemptions.” 140 S.

Ct. at 2381. The Court found that Congress made a “deliberate choice” to give an “extraordinarily



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‘broad general directiv[e]’ to HRSA to craft the Guidelines, without any qualifications as to the

substance of the Guidelines or whether exemptions were permissible.” Id. at 2382 (quoting

Mistretta v. United States, 488 U.S. 361, 372 (1989)). Hence, “HRSA has virtually unbridled

discretion to decide what counts as preventive care and screenings,” and that discretion “leaves

[HRSA’s] discretion equally unchecked in other areas, including the ability to identify and create

exemptions from its own Guidelines.” Id. at 2380.

       Third, the Court rejected the plaintiffs’ argument that the Agencies “could not even

consider RFRA as they formulated the religious exemptions.” Id. at 2382-83. To the contrary, the

Court held that, given “the potential for conflict between the contraceptive mandate and RFRA”

and the Court’s prior opinions, it was “appropriate for the [Agencies] to consider RFRA” and

“unsurprising that RFRA would feature prominently in the [Agencies’] discussion of exemptions.”

Id. at 2383. Indeed, the Court reasoned that, had the Agencies not considered RFRA, they “would

certainly be susceptible to claims that the rules were arbitrary and capricious for failing to consider

an important aspect of the problem.” Id. at 2384. Thus, the Court concluded that, “[p]articularly

in the context of these cases, it was appropriate for the [Agencies] to consider RFRA.” Id. at 2383.

II.    The Final Rules Are Not Arbitrary and Capricious.

       As an initial matter, Plaintiff has already waived any arbitrary-and-capricious claim. To

the extent that Plaintiff’s amended complaint, ECF No. 106, could be construed to state an

arbitrary-and-capricious claim, Plaintiff waived such a claim by failing to raise it during summary

judgment briefing. The tables of contents of Plaintiff’s briefs reveal that Plaintiff does not purport

to assert an arbitrary-and-capricious claim. See Pl. MSJ at i-ii, ECF No. 116; Pl. MSJ Reply at i,

ECF No. 127. Nor does Plaintiff advance such a claim in the body of either brief. Its summary

judgment briefing also does not mention any purported failure by the Agencies to consider the



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reliance interests of women, much less allege such a failure as a basis for considering the Final

Rules to be inconsistent with the APA.

       “A litigant may not posit a theory for the first time in opposition to a summary judgment

motion.” Carrozza v. CVS Pharmacy, Inc., 391 F. Supp. 3d 136, 149 (D. Mass. 2019) (citing

Brooks v. AIG SunAmerica Life Assur. Co., 480 F.3d 579, 589 (1st Cir. 2007)); see also Minuteman

Health, Inc. v. HHS, 291 F. Supp. 3d 174, 192 (D. Mass. 2018) (theory of recovery made for the

first time in summary judgment reply memorandum “is untimely,” and “the Court need not

consider it”). Still less may a litigant present a new theory for the first time in a supplemental brief

after summary judgment briefing has already concluded.                The Court’s Order regarding

supplemental briefing did not suggest that the parties could raise arguments they had not presented

in their summary judgment briefs. See Order at 2, ECF No. 134 (granting the parties’ request that

the Court order the parties to “submit supplemental briefs . . . on their pending dispositive

motions”).    Consequently, Plaintiff should not now be heard to advance an arbitrary-and-

capricious claim that was neither presented in its complaint nor in the course of the parties’

summary judgment briefs.

       This problem is particularly acute as to Plaintiff’s argument, addressed infra Part II.A, that

the Final Rules are not sufficiently tailored to the problems that they seek to address. This

argument appears nowhere in Plaintiff’s complaint or motion for summary judgment, and is

therefore an improper attempt to inject entirely new theories and arguments into this case. Cf.

NYC C.L.A.S.H., Inc. v. Carson, 442 F. Supp. 3d 200, 221 n.15 (D.D.C. 2020), amended on denial

of reconsideration, No. CV 18-1711 (ESH), 2020 WL 4286824 (D.D.C. July 25, 2020) (refusing

to consider new arbitrary and capricious arguments not raised in plaintiffs’ complaint or summary

judgment motion).



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       In any event, Plaintiff’s last ditch arbitrary-and-capricious claim is meritless—which might

explain why Plaintiff did not raise it in prior briefing. The arbitrary-and-capricious standard is

highly deferential, and presumes the validity of agency action. Motor Vehicles Mfrs. Ass’n of U.S.,

Inc. v. Ruckelshaus, 719 F.2d 1159 (D.C. Cir. 1983). A court may not substitute its judgment for

that of the agency, Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971), but

must instead affirm an agency’s decision if a rational basis for that decision has been provided,

even if the court disagrees. See, e.g., Bowman Transp., Inc. v. Ark. Best Freight Sys., 419 U.S.

281, 285 (1974) (“The agency must articulate a rational connection between the facts found and

the choice made.” (citation omitted)). Agency action is not arbitrary or capricious if it “is rational,

based on consideration of the relevant factors and within the scope of the authority delegated to

the agency by the statute.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto Ins. Co, 463 U.S.

29, 42 (1983); see also Overton Park, 401 U.S. at 416 (holding that an agency must consider

relevant factors and reasonable alternatives).

       Agency action is not subject to any more searching standard of review simply because it

represents a change in administrative policy. FCC v. Fox Television Studios, Inc., 556 U.S. 502,

515 (2009). An agency that implements a change in policy “need not demonstrate, to a court’s

satisfaction, that the reasons for the new policy are better than the reasons for the old one.” Id.

Instead, it suffices that the new policy is permissible under the statute, that there are good reasons

for it, and that the agency believes the new policy to be better. Id.

       A.      The Final Rules Are Sufficiently Tailored to the Concerns the Agencies Sought
               to Address.

       Even if considered on their merits, Plaintiff’s arbitrary-and-capricious claims about

tailoring would fail. Plaintiff asserts that the religious exemption is arbitrary and capricious

because an entity whose religious objections to contraception could be satisfied through the

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accommodation may nevertheless employ the religious exemption. Pl. Supp. at 5-6. But “[t]he

APA does not . . . require agencies to tailor their regulations as narrowly as possible to the specific

concerns that generated them.” Assoc. Dog Clubs of N.Y., Inc. v. Vilsack, 75 F. Supp. 3d 83, 92

(D.D.C. 2014). Rather, “[a]n agency has wide discretion in making line-drawing decisions” and

“is not required to identify the optimal threshold with pinpoint precision.” Nat’l Shooting Sports

Found., Inc. (“NSSF”) v. Jones, 716 F.3d 200, 214-15 (D.C. Cir. 2013) (quotation marks omitted);

see also Little Sisters, 140 S. Ct. at 2380 (recognizing broad discretion of agencies to identify and

create exemptions). The line drawn need only be “within a zone of reasonableness.” NSSF, 716

F.3d at 214.

       The Religious Exemption Rule easily satisfies this standard. The Rule alleviates the burden

on those with religious objections to the mandate, which it does by exempting such entities from

the mandate. See 83 Fed. Reg. at 57,556. That some of these religious objections could have been

addressed through the “accommodation” does not render the decision to provide a simple

exemption for religious objectors unreasonable, and to hold otherwise would be to unduly limit

the Agencies’ “virtually unbridled discretion . . . to identify and create exemptions from its own

guidelines,” Little Sisters, 140 S. Ct. at 2380, and to demand the pinpoint precision that the APA

does not require. Indeed, because the Agencies retained the accommodation as an option for

objecting employers, there is no reason to think that, in practice, the exemption will even be

utilized by all objecting employers. Providing coverage for contraceptives is cost neutral for an

employer or school, see Coverage of Certain Preventive Services Under the ACA, 78 Fed. Reg.

39,870, 39,877 (July 2, 2013), and such coverage is a valuable benefit to some employees and

students. There is no reason that an employer or school that does not object to providing

contraceptive coverage through the accommodation would nevertheless invoke the exemption,



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since the accommodation would provide its employees or students a benefit that does not cost it

anything. The line drawn by the Agencies, then, is well “within a zone of reasonableness”: it is

tailored to address sincere religious objections to the contraceptive coverage mandate, while

leaving in place the optional accommodation for those religious objectors who elect to use it.

       Plaintiff also argues that the Moral Exemption Rule is arbitrary and capricious because the

Agencies were aware of only three “small nonprofit organizations,” Pl. Supp. at 7-8 (quoting 83

Fed. Reg. at 57,626-27), in need of the moral exemption. But the scope of a problem need not

exceed a particular threshold before an agency can take action to address it—particularly where

Congress has given the agency “virtually unbridled discretion,” Little Sisters, 140 S. Ct. at 2380.

Moreover, it was not unreasonable for the Agencies to account for the possibility that there may

be (either now or in the future) other entities with moral objections to providing contraceptive

coverage that had not yet identified themselves by expending resources to sue the government or

otherwise. See 83 Fed. Reg. at 57,602 (noting that although the Agencies “assume the number of

entities and individuals that may seek exemption from the Mandate on the basis of moral

convictions, as these two sets of litigants did, will be small, [they] know from the litigation that it

will not be zero,” and that “[a]s a result, [they] have taken these types of objections into

consideration” and “consider it appropriate to issue the protections set forth in these final rules”).

And contrary to Plaintiff’s assertion, Pl. Supp. at 8, the Agencies devoted multiple pages to

explaining why they made the moral exemption available to different types of entities with

sincerely held moral objections to providing coverage for some or all contraceptives. 83 Fed. Reg.

at 57,593. See, e.g., id. at 57,617-19 (explaining the Agencies’ reasons for including some for-

profit organizations); id. at 57,619-20 (same for institutions of higher education); id. at 57,620-21

(same for health insurance issuers); see also id. at 57,603-05. For example, the Agencies decided



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to include some, but not all, for-profit organizations in the scope of the Moral Exemption Rule

based both on the breadth of other conscience-based protections provided by the federal and state

governments, and on the Supreme Court’s logic in Hobby Lobby, which concluded that corporate

entities are capable of pursuing conscience-based goals. Id. at 57,617-19. Plaintiff offers no

reasons to reject the Agencies’ careful consideration, which certainly exceeded the arbitrary-and-

capricious threshold.

       In any event, Plaintiff does not explain how the purported overinclusiveness of the Moral

Exemption Rule harms anyone. If additional entities with moral objections exist, then it would

not be overinclusive or arbitrary and capricious for the exemption to cover those objectors. And

conversely, if no additional entities with moral objections exist, then the exemption would not be

available to any other entities, which means that neither Plaintiff nor anyone else can claim to be

harmed by it. Unlike the cases Plaintiff cites where an agency imposed burdensome requirements

on others in an attempt to fix a problem that might not exist, see Pl. Supp. at 8 (citing Nat’l Fuel

Gas Supply Corp. v. FERC, 468 F.3d 831 (D.C. Cir. 2006)), no one will be affected if there are, in

fact, no additional entities with moral objections. And as discussed above, there is no reason to

believe that, in practice, entities will falsely claim a moral objection.

       B.      The Agencies Adequately Considered Reliance Interests.

       Plaintiff insists that the Agencies “dismiss[ed]” the reliance interests of women when they

considered the Rules. Pl. Supp. at 10. This argument is based on a faulty premise and is incorrect

in any event. As an initial matter, because RFRA required the religious exemption, see Defs.’ MSJ

at 21-22, ECF No. 122, the Agencies were not required to consider reliance interests, as they would

have been if the decision were simply a matter of discretion. In any case, the Agencies, in fact,

considered reliance interests. Specifically, they considered whether the contraceptive coverage



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mandate has “led women to increase their use of contraception in general, or to change from less

effective, less expensive contraceptive methods to more effective, more expensive, contraceptive

methods.” See, e.g., 83 Fed. Reg. at 57,556. After reviewing comments on these issues, as well

as the studies submitted by commenters, the Agencies concluded that it was “not clear that merely

expanding exemptions as done in the[] rules w[ould] have a significant effect on contraceptive use

and health, or workplace equality, for the vast majority of women benefitting from the Mandate.”

Id. That is because “[t]here is conflicting evidence regarding whether the Mandate alone, as

distinct from birth control access more generally, has caused increased contraceptive use, reduced

unintended pregnancies, or eliminated workplace disparities, where all other women’s preventive

services were covered without cost sharing.” Id.

       While the Agencies ultimately concluded that they did not need to reach a conclusion on

these issues, given the limited scope of the Rules and the strength of the religious liberty interests

at stake, they were not blind to them. See, e.g., id. at 57,548-52, 57,556. They also noted that

HHS had proposed a regulation that would make clear that individuals eligible for free or low cost

contraceptive services through the Title X program could include women who are unable to obtain

contraceptive coverage due to their employers’ religious or moral beliefs—a proposal that it noted

“could further reduce any potential effect of these final rules on women’s access to

contraceptives.” Id. at 57,551. In short, the Agencies considered the potential effects of the

exemptions and concluded that “these final rules—which merely withdraw the Mandate’s

requirement from what appears to be a small group of newly exempt entities and plans—are not

likely to have negative effects on the health or equality of women nationwide” and that “the




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expanded exemptions are an appropriate policy choice left to the agencies under the relevant

statutes.” 4 Id.

        Plaintiff also quibbles with the Agencies’ choice of how to present the number of women

affected. To be clear, Plaintiff does not dispute the Agencies’ estimates of the number of women

potentially affected, but rather disagrees with whether that number should be presented in

comparison to the number of women in the United States or the number of women who receive

insurance coverage from an objecting entity. Pl. Supp. at 11. This disagreement does not implicate

any requirement imposed by the APA. The APA requires only that the Agencies consider relevant

factors, not that it present the results of its consideration in the manner a plaintiff prefers. See State

Farm, 463 U.S. at 43.

        Accordingly, the Agencies did not “entirely fail[] to consider an important aspect of the

problem,” id., and Plaintiff’s claim fails.

        C.         The Agencies Adequately Considered Alternatives.

        Plaintiff argues that the Final Rules “inflict gratuitous harm” because they failed to pursue

purportedly “significant and viable and obvious alternatives,” and Plaintiff lists a number of




4
 With respect to Plaintiff’s arguments regarding Title X, Pl. Supp. at 10 n.4, it is simply incorrect
that the Agencies failed to respond to comments regarding the interaction between the Final Rules
and Title X. See 83 Fed. Reg. at 57,551 (“some commenters said that, for lower income women,
contraceptives can be available . . . through government programs [such as Title X] . . . . Other
commenters contended that many women in employer-sponsored coverage might not qualify for
those programs . . . because the programs were not intended to absorb privately insured
individuals”). Moreover, the Agencies never stated that they believed Title X would be able to
help all women at risk of losing contraceptive coverage; they simply stated that “contraceptives
can be available at free or low cost through government programs (federal programs offering such
services include, for example, Medicaid, Title X . . . ),” and they explicitly recognized that these
programs have limits, such as income restrictions. Id. And given the recognition of these limits,
the Final Rules give no indication that they are premised on Title X recipients being able to assist
all women who might be affected by them. Id. (“The Departments do not believe that these general
considerations make it inappropriate to issue the expanded exemptions set forth in these rules.”).
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alternative policies it believes the Agencies “could have implemented” instead. Pl. Supp. at 12-

17 & n.6. Plaintiff’s post-hoc policy brainstorming, see id., does not render the Final Rules

arbitrary and capricious. Indeed, Plaintiff offers no evidence that these ideas were “obvious

alternatives” or that these ideas were even suggested to the Agencies (perhaps unsurprisingly,

given that Plaintiff itself has only pressed this theory in its most recent round of briefing). There

are myriad ways that the Agencies could have drawn lines, and they are not required to explicate

and reject each potential option individually—an agency “need not consider every alternative

proposed nor respond to every comment made.” NSSF, 716 F.3d at 215; see also Vermont Yankee

Nuclear Power Corp. v. NRDC, Inc., 435 U.S. 519, 551 (1978) (“Common sense also teaches us

that the ‘detailed statement of alternatives’ cannot be found wanting simply because the agency

failed to include every alternative device and thought conceivable by the mind of man.”). In any

event, the Agencies did explain at length their choice in setting the scope of the religious

exemption, noting that the language in the IFR had been restructured for clarity to make it plain

that the religious exemption “encompasses objections to complying with either the Mandate or the

accommodation.” 83 Fed. Reg. at 57,567.

        Plaintiff’s first proposed alternative would require limiting exemptions only to employers

with complicity-based objections to the accommodation, as discussed above. See supra II.A. For

the reasons already described, this argument fails because the Final Rules’ exemptions easily fall

“within a zone of reasonableness,” NSSF, 716 F.3d at 214, especially considering the Agencies’

“virtually unbridled discretion” to “identify and create exemptions from [HHS’s] own Guidelines.”

Little Sisters, 140 S. Ct. at 2380.

        Second, Plaintiff would require the agencies to “expand[] or adjust[] the accommodation”

to address employers’ complicity-based objections.         Plaintiff recognizes that the Agencies



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responded to comments regarding such alternatives, see Pl. Supp. at 13, making it puzzling that it

contends that such alternatives were not considered. Nonetheless, Plaintiff contends that the

Agencies inadequately considered then-Judge Kavanaugh’s suggestion in 2015 to “submi[t] a

simple notice” to HHS identifying an entity as one with a religious objection and “independently

determine” the identity of the organization’s insurer to ensure it provides contraceptive coverage,

id. at 14; Plaintiff also contends that the Agencies should have considered using “separate

enrollment cards” by which individuals could identify their need for contraceptive coverage to

their insurers. See id. at 15-16 (citing, inter alia, FAQs About Affordable Care Act Implementation

Part 36, at 4 (Jan. 9, 2017)). Nowhere does Plaintiff identify any commenter who suggested that

the Agencies adopt such alternatives.

       In any event, the Agencies acted reasonably in rejecting such alternatives—the

accommodation had been the subject of years of protracted litigation, which could not be resolved

through adjustments to the accommodation in a way that satisfied everyone. See 83 Fed. Reg. at

57,544. It was reasonable—and not, as Plaintiff avers, an abdication of any commitment to provide

“seamless” coverage—to expand the religious exemption to all those with sincere religious

objections to the mandate. See id. at 14. As the Agencies explained, although the various religious

objections to the mandate could potentially be addressed “[i]f the accommodation could deliver

contraceptive coverage independent and separate from the objecting employer’s plan,” the

Agencies were not aware of any “authority” or “practical mechanism” that could be used “to

require contraceptive coverage be provided specifically to persons covered by an objecting

employer, other than by using the employer’s plan, issuer, or third party administrator.” 83 Fed.

Reg. at 57,545-46. Plaintiff’s wish list of potential alternatives does not render the option the

Agencies ultimately chose unreasonable—indeed, the very Fact Sheet that Plaintiff cites declined



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to modify the accommodation because “no feasible approach” existed that “would resolve the

concerns of religious objectors, while still ensuring that the affected women receive full and equal

health coverage.” FAQs About Affordable Care Act Implementation Part 36, at 4; see also Pl.

Supp. at 15 (acknowledging that “‘to be sure, some religious organizations’ might still object to

[Plaintiff’s alternative] process”).

        Moreover, Plaintiff takes issue with the Moral Exemption Rule, claiming that the Agencies

unreasonably expanded that exemption to align closely with the Religious Exemption Rule. But

Plaintiff itself recognizes that the Moral Exemption Rule “dedicated an entire section . . . to

discussing” why it was reasonable to treat moral and religious objectors similarly. Plaintiff’s only

rationale for why the Moral Exemption Rule should be found unlawful is that no statutory basis

for it purportedly exists. See Pl. Supp. at 16. But Little Sisters conclusively resolved this statutory

question, holding that the ACA authorized the Moral Exemption Rule. Little Sisters, 140 S. Ct. at

2381 (“the ACA gives HRSA broad discretion to define preventive care and screenings and to

create the religious and moral exemptions”).

        In sum, the Agencies did give meaningful consideration to alternatives, but ultimately

determined that the Final Rules were the most appropriate response to the substantial burden on

religious exercise identified in Hobby Lobby and to years of protracted litigation. That conclusion

was neither arbitrary nor capricious.

III.    The Final Rules Are Consistent With the Establishment Clause.

        Defendants have previously explained that the Final Rules are consistent with the

Establishment Clause. Defs.’ MSJ at 34-40; Defs.’ Reply MSJ at 18-21, ECF No. 128. Indeed,

“there is no basis for an argument . . . that the [Final Rules] violate[] that Clause.” Little Sisters,

140 S. Ct. at 2396 n.13 (Alito, J., with Gorsuch, J., concurring). Not only did the Little Sisters



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two-Justice concurrence find no basis to challenge the Final Rules under the Establishment Clause,

but also the majority opinion’s RFRA discussion supports Defendants’ arguments that no valid

Establishment Clause claim lies here. Although the Supreme Court declined to decide whether

RFRA independently compelled the Agencies to adopt the Final Rules, it nonetheless made clear

that the Agencies were required to consider RFRA’s requirements in formulating the Final Rules.

Indeed, the Supreme Court “made it abundantly clear that, under RFRA, the Departments must

accept the sincerely held complicity-based objections of religious entities” and must

“accommodat[e] the free exercise rights of those with complicity-based objections to the self-

certification accommodation.” 140 S. Ct. at 2383 (citation and internal punctuation omitted); see

also id. at 2384 (explaining that if the Agencies “did not look to RFRA’s requirements or discuss

RFRA at all when formulating their solution, they would certainly be susceptible to claims that the

rules were arbitrary and capricious for failing to consider an important aspect of the problem”)

(footnote omitted). In short, the Supreme Court decided not only that the Agencies could consider

and accommodate religious-based objections to the contraceptive-coverage mandate, but that they

were obliged to do so.

       Furthermore, to the extent that Plaintiff contends that the Religious Exemption Rule does

not permit the government to determine whether any particular objector’s religious exercise is

substantially burdened before the objector avails itself of the exemption, see Pl. Supp. at 18, the

financial penalty the ACA imposes for failure to comply with the mandate or accommodation

constitutes a substantial burden on the religious exercise of employers with sincerely-held religious

objections to contraceptive coverage. That is the same penalty the plaintiffs faced in Hobby Lobby,

where the Supreme Court had “little trouble” concluding that the mandate imposed a substantial

burden. 573 U.S. at 719. And insofar as Plaintiff is concerned that the Rules lack any mechanism



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to distinguish between an objecting employer with a “complicity-based burden on [its] own

religious exercise” and one who wishes “simply to deter employees from using contraception,” Pl.

Supp. at 18, the Agencies have explained that “[e]ntities that insincerely or otherwise improperly

operate as if they are exempt would do so at the risk of enforcement under [mechanisms in the

Public Health Service Act, the Internal Revenue Code, and ERISA],” 83 Fed. Reg. at 57,558.

          As demonstrated in Defendants’ prior briefs, the Final Rules permissibly accommodate

religious beliefs and moral convictions consistent with the Establishment Clause. See also Corp.

of Presiding Bishop of Church of Jesus Christ of Latter-Day Saints v. Amos, 483 U.S. 327, 335

(1987).

IV.       The Final Rules Are Consistent With Equal Protection Principles.

          The Final Rules are also consistent with principles of equal protection. See Defs.’ MSJ at

40-43; Defs.’ Reply MSJ at 21-24. Plaintiff fails to state a valid equal protection claim because

only rational basis review applies and the Final Rules easily satisfy it.

          Rational basis review is the governing standard because the Final Rules do not draw any

sex-based distinction. As explained previously, the ACA’s provision requiring coverage for

additional preventive services supported by HRSA pertains only to such services for “women.”

Defs.’ MSJ at 41 (citing 42 U.S.C. § 300gg-13(a)(4)). Therefore, the HRSA Guidelines generally

provide benefits to women that they do not provide to men, because they require coverage for

female contraceptives—while the Final Rules provide an exemption for entities with religious and

moral objections—but do not require any coverage of male contraceptives. See id. The Final

Rules expand the previously available exemptions to the mandated coverage of female

contraceptives. These exemptions apply based on the sincere religious or moral objections of the

employer, plan sponsor, institute of higher education or issuer.            Therefore, the Agencies’



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preventive services coverage requirements make no sex-based distinction to the detriment of

women, as alleged by Plaintiff. 5 Indeed, any sex-based distinctions relating to contraceptive

coverage flow from the statute itself, which requires coverage for preventive services for women

only and which Plaintiff has not challenged.

       As to the distinctions that do exist under the Final Rules—those based on the sincere

religious or moral objections of the employer, plan sponsor, institution of higher education, or

issuer—those distinctions have existed from the inception of the contraceptive mandate. That is

because the Agencies have always accommodated at least some religious objections to the

mandate—through the church exemption and subsequent modifications of it. Consequently, if

exemptions to the guidelines were deemed violations of equal protection, such a violation would

apply equally to the prior church exemption and the accommodation.

       But, of course, the government plainly has a rational basis for providing these exemptions.

See Defs.’ MSJ at 42-43. As the Agencies explained at length in the Final Rules themselves, these

exemptions relieve religious and moral burdens imposed by the contraceptive mandate. In the case

of the expanded religious exemption, the Rule ensures compliance with RFRA. And in all cases,

these expanded exemptions attempt to bring to an end the protracted litigation flowing from the

failure to provide such exemptions in the first instance.

                                         CONCLUSION

       For the reasons stated above and in Defendants’ merits briefs, the Court should dismiss

Plaintiff’s complaint or enter summary judgment for Defendants, and deny Plaintiff’s motion for

summary judgment.



5
  Because the Final Rules do not make such a distinction, Plaintiff misplaces its reliance on Joyce
v. Town of Dennis, 705 F. Supp. 2d 74 (D. Mass. 2010), in which a female golfer was not allowed
to play in a male-only golf tournament. See id. at 78.
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 Dated: November 6, 2020                          Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on November 6, 2020, I caused a copy of the foregoing to be filed

electronically and that the document is available for viewing and downloading from the ECF

system. Participants in the case who are registered CM/ECF users will be served by the CM/ECF

system. If any counsel of record requires a paper copy, I will cause a paper copy to be served upon

them by U.S. mail.

                                                            /s/ Daniel Riess
                                                            Daniel Riess




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